                                      CASE 0:21-cr-00108-PAM-TNL Doc. 12 Filed 05/07/21 Page 1 of 1

                                                   IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE DISTRICT OF MINNESOTA

                                                       INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                    )            COURTROOM MINUTES - CRIMINAL
                                                             )           BEFORE: ELIZABETH COWAN WRIGHT
                                          Plaintiff,         )                   U.S. Magistrate Judge
                                                             )
   v.                                                        )     Case No:              21-cr-108 PAM/TNL
                                                             )     Date:                 May 7, 2021
Thomas Kiernan Lane (4),                                     )     Video Conference
                                                             )     Court Reporter:        Lori Simpson
                                          Defendant,         )     Time Commenced:        8:19 a.m.
                                                                   Time Concluded:        8:25 a.m.
                                                                   Time in Court:         6 minutes

APPEARANCES:

   Plaintiff: W. Anders Folk, Acting U.S. Attorney; Samantha Trepel, Assistant U.S. Attorney
   Defendant: Earl Gray, Esq.
                      X Retained

   Date Charges Filed: 5/6/2021                             Offense: deprivation of rights under color of law

   X Advised of Rights

on            X Indictment


Appearance Bond set in the amount of $25,000 rpr with conditions, see Order Setting Conditions of Release.

X Government moves to unseal the entire case 21-cr-108 PAM/TNL and 21-cr-109 WMW/HB.                             X Granted



Additional Information:
X Oral Rule5(f) Brady notice read on the record
X Defendant consents to this hearing via video conference
                                                                                                       s/SAE
                                                                                                     Signature of Courtroom Deputy




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